                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                            NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )       Criminal No. 2:11-00002
                                                     )       Judge Trauger
[10] DAVID FRANKLIN KING                             )
[25] COURTNEY JO RABIDEAU                            )

                                            ORDER

       The case against these two defendants is presently set for trial on July 31, 2012. The

court is informed that Mr. King’s medical condition does not allow him to go to trial, and

defendant Rabideau is still a fugitive. The present speedy trial deadlines for both of these

defendants is October 9, 2012. It is therefore ORDERED that the trial scheduled for July 31,

2012 is CONTINUED, and will be reset for October 9, 2012.

       It is so ORDERED.

       ENTER this 26th day of July 2012.


                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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